                                      Case 2:17-cv-05075-AB-JPR Document 164 Filed 02/08/19 Page 1 of 4 Page ID #:10185



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                                            GIGANEWS, INC. and LIVEWIRE SERVICES, INC.
                                         16
                                         17                        UNITED STATES DISTRICT COURT
                                         18                      CENTRAL DISTRICT OF CALIFORNIA
                                         19
                                         20 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
                                            and LIVEWIRE SERVICES, INC., a
                                         21 Nevada corporation,                  NOTICE OF MANUAL LODGING
                                                                                 OF DEPOSITION TRANSCRIPTS
                                         22               Plaintiffs,            FOR USE AT TRIAL
                                         23         v.                                 Pretrial Conf.:March 1, 2019
                                                                                       Time:          11:00 a.m.
                                         24 PERFECT 10, INC., a California             Courtroom: 7B
                                            corporation; NORMAN ZADA, an               Trial Date: March 26, 2019
                                         25 individual; and DOES 1-50, inclusive,      Judge:         Hon. André Birotte, Jr.
                                         26                  Defendants.
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                                              NOTICE OF MANUAL LODGING OF DEPOSITION              CASE NO.: 2:17-cv-05075-AB (JPR)
                                              TRANSCRIPTS FOR USE AT TRIAL
                                      Case 2:17-cv-05075-AB-JPR Document 164 Filed 02/08/19 Page 2 of 4 Page ID #:10186



                                          1         TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                          2         Under Local Rules 16-2.3 and 32-1, Plaintiffs Giganews, Inc. and Livewire
                                          3 Services, Inc. hereby lodge copies of the following deposition transcripts they
                                          4 intend to introduce into evidence. Plaintiffs have attached an index showing the
                                          5 specific testimony from the following witnesses:
                                          6
                                          7            No.                      Deposition                        Date
                                          8
                                          9             1.     Chumura, Sean                                   4/17/2014
                                         10
                                                        2.     Poblete, Melanie                                4/23/2014
                                         11
                                         12
                                                        3.     Zada, Norm                                      4/24/2014
F ENWICK & W ES T LLP
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                                         14             4.     Apai, Szabolcs                                  4/25/2014
                                         15
                                         16             5.     Zada, Norm                                      4/25/2014

                                         17
                                                        6.     Chaney, Rebekah                                  6/5/2014
                                         18
                                         19             7.     Augustine, Gwendalyn                            6/24/2014
                                         20
                                         21             8.     Chou, Sheena                                    6/25/2014

                                         22
                                                        9.     Saz, Mike                                       6/27/2014
                                         23
                                         24            10.     Zada, Norm 30(b)(6)                             6/30/2014
                                         25
                                         26            11.     Zada, Norm                                      8/24/2014
                                         27
                                                       12.     McCall, Jennifer                               10/22/2014
                                         28
                                              NOTICE OF MANUAL LODGING OF DEPOSITION
                                                                                                     CASE NO.: 2:17-cv-05075-AB (JPR)
                                              TRANSCRIPTS FOR USE AT TRIAL              1
                                      Case 2:17-cv-05075-AB-JPR Document 164 Filed 02/08/19 Page 3 of 4 Page ID #:10187



                                          1
                                                        13.     Zada, Norm (Debtor Examination)                 1/28/2016
                                          2
                                          3
                                                        14.     Hersh, Bruce (Debtor Examination)               5/17/2016
                                          4
                                          5             15.     Poblete, Melanie (Debtor Examination)           12/6/2016
                                          6
                                          7             16.     Zada, Norm                                      7/11/2018

                                          8
                                                        17.     Poblete, Melanie                                7/17/2018
                                          9
                                         10             18.     Hersh, Bruce                                     7/18/201
                                         11
                                         12             19.     Zada, Norm                                     10/31/2018
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                                         14         Plaintiffs have also included in the attached index Defendants’ designations
                                         15 of deposition testimony they intend to offer at trial. The index includes Plaintiffs’
                                         16 objections and counter-designations, and Plaintiffs hereby also lodge copies of the
                                         17 following deposition transcripts, prepared according to Local Rules 16-2.7 and
                                         18 32-1:
                                         19
                                         20            No.                        Deposition                       Date
                                         21
                                                        20.     Yokubaitis, Jonah                               4/30/2014
                                         22
                                         23             21.     Yokubaitis, Ron                                 1/23/2014
                                         24
                                         25             22.     Menking, Shane                                  3/22/2014
                                         26
                                                        23.     Rosenblatt, William                             8/22/2014
                                         27
                                         28
                                              NOTICE OF MANUAL LODGING OF
                                              DEPOSITION TRANSCRIPTS FOR USE AT
                                              TRIAL                                     2             CASE NO.: 2:17-cv-05075-AB (JPR)
                                      Case 2:17-cv-05075-AB-JPR Document 164 Filed 02/08/19 Page 4 of 4 Page ID #:10188



                                          1
                                                       24.     Molter, Philip                                3/20/2014
                                          2
                                          3
                                                       25.     Molter, Philip                                3/21/2014
                                          4
                                          5
                                          6 Dated: February 8, 2019               FENWICK & WEST LLP
                                          7
                                          8                                       By: /s/ Todd R. Gregorian
                                                                                     Todd R. Gregorian
                                          9
                                                                                  Attorneys for Plaintiffs/Judgment Creditors
                                         10                                       GIGANEWS, INC., and LIVEWIRE
                                                                                  SERVICES, INC.
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                                              NOTICE OF MANUAL LODGING OF
                                              DEPOSITION TRANSCRIPTS FOR USE AT
                                              TRIAL                                  3             CASE NO.: 2:17-cv-05075-AB (JPR)
